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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.        CV 18-02217 SJO (FFMx)                                                   Date   April 18, 2018
 Title            Stephanie Clifford v. Donald J. Trump et al




 Present: The                   JAMES OTERO, Judge presiding
 Honorable
                Victor Cruz                                     Not Present
                Deputy Clerk                                Court Reporter                              Tape No.
            Attorneys Present for Plaintiffs:                           Attorneys Present for Defendants:
                        Not Present                                                      Not Present
 Proceedings:                 IN CHAMBERS

This matter is before the Court on Defendants Michael Cohen, Essential Consultants, LLC, and
Donald J. Trump's (collectively, "Defendants") Ex Parte Application for a Stay of this Action
("Application"), filed April 13, 2018. After reviewing the Application and related filings, the Court
finds that a hearing on the matter is warranted. Accordingly, the Court SETS a hearing for Friday,
April 20, 2018 at 9:00 am.




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                                                                  Initials of Preparer                  vpc




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